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 8

 9                         UNITED STATES DISTRICT COURT
10                      NORTHERN DISTRICT OF CALIFORNIA
11

12   TRUSTLABS, INC., a Delaware              )   Case No.: 3:21-cv-02606-CRB
     Corporation                              )
13
                                              )
                                              )
                       Plaintiff,             )
14                                            )   DEFENDANT’S            ANSWER      TO
                                              )   COMPLAINT
15               vs.                          )
                                              )
16                                            )   JURY TRIAL DEMANDED
     DANIEL JAIYONG AN,                       )
17                                            )   Complaint Filed: Apr. 9. 2021
                                              )
18                     Defendant.             )
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                                       ANSWER TO COMPLAINT
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 1         Defendant Daniel Jaiyong An (“Defendant”), by and through his undersigned
 2   counsel, hereby answers Plaintiff TrustLabs, Inc.’s Complaint (“Plaintiff” or “TrustLabs”
 3   and the “Complaint”) and affirmatively alleges as follows:
 4                                     INTRODUCTION
 5                Defendant admits that in or about 2015, he and one other co-founded
 6   TrustLabs. Defendant admits that from in or about 2015 until on or about July 6, 2020,
 7   he served as TrustLabs’ Chief Executive Officer (“CEO”) and President, and sat on
 8   TrustLabs’ Board of Directors (the “Board”). Defendant denies the remaining allegations
 9   in paragraph 1.
10                Defendant states that paragraph 2 contains legal conclusions to which no
11   response is required. To the extent any response is required, Defendant denies the
12   allegations in paragraph 2.
13                                          PARTIES
14                Defendant admits that TrustLabs is a cryptocurrency company incorporated
15   in Delaware in 2015 and headquartered in Willits, California. Defendant admits that a
16   majority of TrustLabs’ employees resided in California during the time period at issue.
17                Defendant admits the allegations in paragraph 4.
18                Defendant admits that he is an individual, and that from TrustLabs
19   incorporation in 2015 until on or about July 6, 2020, Defendant served as TrustLabs’ CEO
20   and President and sat on the Board.
21                                 JURISDICTION AND VENUE
22                Defendant states that paragraph 6 contains legal conclusions to which no
23   response is required. To the extent any response is required, Defendant admits that
24   Plaintiff purports to assert claims for breach of the Computer Fraud and Abuse Act
25   (“CFAA”) and Stored Communications Act (“SCA”) and that claims under the CFAA and
26   SCA arise under the laws of the United States.
27                Defendant states that paragraph 7 contains legal conclusions to which no
28   response is required. To the extent any response is required, Defendant admits that
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 1   Plaintiff purports to assert a claim for breach of the California Comprehensive Computer
 2   Data Access and Fraud Act (“CCDAFA”) and that such claim is part of the same case or
 3   controversy as Plaintiff’s claims under the CFAA and SCA.
 4                  Defendant states that paragraph 8 contains legal conclusions to which no
 5   response is required. To the extent any response is required, Defendant admits that he
 6   resided in California during at least some of the relevant time period.
 7                  Defendant states that paragraph 9 contains legal conclusions to which no
 8   response is required. To the extent any response is required, Defendant states that he lacks
 9   knowledge or information sufficient to form a belief as to the truth of the allegations in
10   paragraph 9.
11                  Defendant states that paragraph 10 contains legal conclusions to which no
12   response is required. To the extent any response is required, Defendant states that he lacks
13   knowledge or information sufficient to form a belief as to the truth of the allegations in
14   paragraph 10.
15                  Defendant admits that he conducted substantial business in California while
16   working on behalf of TrustLabs, and was a resident of California from 2015 through at
17   least Q1 2020. Defendant denies that his last known residence is in Texas.
18                  Defendant denies the allegations contained in paragraph 12.
19                                  GENERAL ALLEGATIONS
20                  Defendant admits that he co-founded TrustLabs in 2015, and that from
21   TrustLabs’ incorporation until in or about 2020 served as TrustLabs’ Chief Executive
22   Officer and President, and sat on TrustLabs’ Board of Directors.
23                  Defendant denies that he took actions that were not in the best interests of the
24   Company. Defendant lacks knowledge or information sufficient to form a belief as to the
25   truth of the remaining allegations in paragraph 14.
26                  Defendant lacks knowledge or information sufficient to form a belief as to
27   the truth of the allegations in paragraph 15.
28   ///
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 1                Defendant lacks knowledge or information sufficient to form a belief as to
 2   the truth of the allegations in paragraph 16.
 3                Defendant admits that TrustLabs’ Slack services were registered under his
 4   email address and that he was the sole administrator of TrustLabs’ Slack platform.
 5   Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
 6   remaining allegations in paragraph 17.
 7                Defendant lacks knowledge or information sufficient to form a belief as to
 8   the truth of the allegations in paragraph 18.
 9                Defendant denies that he intentionally and maliciously deleted TrustLabs’
10   Slack messaging system or that he intended to harm TrustLabs.            Defendant lacks
11   knowledge or information sufficient to form a belief as to the truth of the remaining
12   allegations in paragraph 19.
13                Defendant lacks knowledge or information sufficient to form a belief as to
14   the truth of the allegations in paragraph 20.
15                Defendant lacks knowledge or information sufficient to form a belief as to
16   the truth of the allegations in paragraph 21.
17                Defendant admits that on or about July 8, 2020, Plaintiff sent to Defendant a
18   letter. Defendant respectfully refers the Court to the aforementioned letter for a true,
19   correct, and complete statement of its contents.
20                Defendant denies the allegations in paragraph 23.
21                Defendant admits that on or about July 14, 202, Plaintiff sent to defendant a
22   letter. Defendant respectfully refers the Court to the aforementioned letter for a true,
23   correct, and complete statement of its contents.
24                Defendant admits that on or about July 14, 202, Plaintiff sent to defendant a
25   letter. Defendant respectfully refers the Court to the aforementioned letter for a true,
26   correct, and complete statement of its contents.
27   ///
28   ///
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 1                                         FIRST CLAIM
 2                                  (Violation of 18 U.S.C. § 1030)
 3                Defendant realleges the responses set forth in Paragraphs 1 through 25 above
 4   and incorporates them as though set forth herein in full.
 5                Defendant states that paragraph 27 contains legal conclusions to which no
 6   response is required. To the extent any response is required, Defendant states that he lacks
 7   knowledge or information sufficient to form a belief as to the truth of the allegations in
 8   paragraph 27.
 9                Defendant states that paragraph 28 contains legal conclusions to which no
10   response is required. To the extent any response is required, Defendant denies the
11   allegations in paragraph 28.
12                Defendant states that paragraph 29 contains legal conclusions to which no
13   response is required. To the extent any response is required, Defendant states that he lacks
14   knowledge or information sufficient to form a belief as to the truth of the allegations in
15   paragraph 29.
16                Defendant states that paragraph 30 contains legal conclusions to which no
17   response is required. To the extent any response is required, Defendant states that he lacks
18   knowledge or information sufficient to form a belief as to the truth of the allegations in
19   paragraph 30.
20                                        SECOND CLAIM
21                                  (Violation of 18 U.S.C. § 2701)
22                Defendant realleges the responses set forth in Paragraphs 1 through 30 above
23   and incorporates them as though set forth herein in full.
24                Defendant states that paragraph 32 contains legal conclusions to which no
25   response is required. To the extent any response is required, Defendant states that he lacks
26   knowledge or information sufficient to form a belief as to the truth of the allegations in
27   paragraph 32.
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 1                Defendant states that paragraph 33 contains legal conclusions to which no
 2   response is required. To the extent any response is required, Defendant denies the
 3   allegations in paragraph 33.
 4                Defendant states that paragraph 34 contains legal conclusions to which no
 5   response is required. To the extent any response is required, Defendant denies the
 6   allegations in paragraph 34.
 7                                         THIRD CLAIM
 8                          (Violation of California Penal Code § 502)
 9                Defendant realleges the responses set forth in Paragraphs 1 through 30 above
10   and incorporates them as though set forth herein in full.
11                Defendant states that paragraph 36 contains legal conclusions to which no
12   response is required. To the extent any response is required, Defendant states that he lacks
13   knowledge or information sufficient to form a belief as to the truth of the allegations in
14   paragraph 36.
15                Defendant states that paragraph 37 contains legal conclusions to which no
16   response is required. To the extent any response is required, Defendant states that he lacks
17   knowledge or information sufficient to form a belief as to the truth of the allegations in
18   paragraph 37.
19                Defendant states that paragraph 38 contains legal conclusions to which no
20   response is required. To the extent any response is required, Defendant denies the
21   allegations in paragraph 38.
22                Defendant states that he lacks knowledge or information sufficient to form a
23   belief as to the truth of the allegations in paragraph 39.
24                Defendant states that paragraph 40 contains legal conclusions to which no
25   response is required. To the extent any response is required, Defendant states that he lacks
26   knowledge or information sufficient to form a belief as to the truth of the allegations in
27   paragraph 40.
28   ///
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 1                                  AFFIRMATIVE DEFENSES
 2         Further answering the Complaint, Defendant alleges the following affirmative
 3   defenses:
 4                              FIRST AFFIRMATIVE DEFENSE
 5                              (Failure to State a Cause of Action)
 6                As a separate and affirmative defense, Defendant alleges that Plaintiff has
 7   failed on each and all of its causes of action to allege facts sufficient to constitute a cause
 8   of action against Defendant.
 9                           SECOND AFFIRMATIVE DEFENSE
10                                      (Failure to Mitigate)
11                As a separate and affirmative defense, Defendant alleges that Plaintiff failed
12   to take reasonable action to mitigate its alleged damages.
13                             THIRD AFFIRMATIVE DEFENSE
14                                        (Unclean Hands)
15                As a separate and affirmative defense, Defendant alleges that Plaintiff is
16   further barred by the equitable doctrine of unclean hands.
17                           FOURTH AFFIRMATIVE DEFENSE
18                              (Contributory Conduct of Plaintiff)
19                As a separate and affirmative defense, Defendant alleges that Plaintiff’s
20   alleged damages, if any, were wholly or partly contributed to or proximately caused by
21   Plaintiff’s conduct and activities, including Plaintiff’s negligence and carelessness.
22   Defendant is entitled to a reduction of damages, if any, in accordance with Plaintiff’s
23   negligence or wrongdoing.
24                             FIFTH AFFIRMATIVE DEFENSE
25                                             (Waiver)
26                As a separate and affirmative defense, Defendant alleges that Plaintiff has
27   waived any right to recovery upon the facts alleged in the Complaint and is, therefore,
28   barred from asserting such claims.
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 1                            SIXTH AFFIRMATIVE DEFENSE
 2                                           (Estoppel)
 3                As a separate and affirmative defense, Defendant alleges that Plaintiff is
 4   barred from any recovery upon the facts alleged in the Complaint on the grounds of
 5   estoppel.
 6                         SEVENTH AFFIRMATIVE DEFENSE
 7                                           (Laches)
 8                As a separate and affirmative defense, Defendant alleges that the Complaint
 9   and each purported cause of action therein are barred by the doctrine of laches.
10                          EIGHTH AFFIRMATIVE DEFENSE
11                                          (Consent)
12                As a separate and affirmative defense, Defendant alleges that Plaintiff is
13   barred from any recovery in this action in that it willingly and voluntarily consented,
14   expressly and impliedly, to any such acts and conduct as may be shown on the part of
15   these answering defendants.
16                           NINTH AFFIRMATIVE DEFENSE
17                                         (Good Faith)
18                As a separate and affirmative defense, Defendant alleges that at all times
19   relevant herein, Defendant acted in good faith and had no knowledge or reasonable ground
20   to believe in the existence of any of the facts now complained of and did not directly or
21   indirectly induce the act(s) complained of in the Complaint.
22                           TENTH AFFIRMATIVE DEFENSE
23                                 (Justification and Privileges)
24                As a separate and affirmative defense, Defendant alleges that his conduct was
25   justified, reasonable, supported by good cause, and/or privileged under the circumstances.
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 1                        ELEVENTH AFFIRMATIVE DEFENSE
 2                                   (No Punitive Damages)
 3               As a separate and affirmative defense, Defendant alleges that his conduct was
 4   without fraud, oppression, or malice towards Plaintiff, thereby precluding any claims for
 5   punitive and/or exemplary damages.
 6

 7                                 PRAYER FOR RELIEF
 8         WHEREFORE, Defendant prays for judgment as follows:
 9         1.    That Plaintiff take nothing by reason of its Complaint;
10         2.    For an award of attorneys’ fees and costs; and
11         4.    For such other and further relief as the court may deem just and proper.
12

13   Dated: August 6, 2021           NOVIAN & NOVIAN, LLP
14                                   Attorneys at Law
15
                                     By:    /s/ Alexander Brendon Gura
16                                         FARHAD NOVIAN
17                                         ALEXANDER BRENDON GURA

18                                         Attorneys for Defendant Daniel Jaiyong An
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